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                                           tF''ederal Courtt                                   FEE        I   A   ?0At

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                                                      at
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                                     Dishict Court of the United States
                                         for District of Minnesota


PETRO SIRUK                                          )
MARINA SIRUK,                                        )
                            Plaintifl                )               CLASS ACTION
     -against-                                        )              COMPLAINT
                                                     )                                 21-cv-415 PJS/DTS
ROBINHOOD FINANCTAL LLC                              )
ROBINHOOD SECURITIES, LLC                            )
ROBINHOOD MARKETS, INC.,                             )                PlaintiffDemand a
                                                     )                Trial by Jury
                             Defendants.             )



                                        NATURE OF TIIE ACTION

l.Robinhood is an online brokerage firm.

2.Robinhood purposefully, willfully, and knowingly removing the stock .'GMF.' from its trading platform in
the midst of an unprecedented stock rise thereby deprived retail investors of the ability to invest in the open-
market and manipulating the open-market.

                                                  PARTIES

3.Plaintiffs Petro Siruk and Marina Siruk was and is a citizen of the State of Minnesota.

4.Defendant Robinhood Financial LLC is a Delaware corporation with its principal place of business at 85
Willow Roado Menlo Park, Califomia9{}Z1.It is a wholly-owned subsidiary of Robinhood Markets, Inc.
Robinhood Financial LLC is registered as a broker-dealer with the U.S. Securities & Exchange Commission
(*SEC"). Defendant Robinhood Financial LLC acts as an introducing broker and has a clearing arrangement
with its affiliate Defendant Robinhood Securities, LLC.

5.Defendant Robinhood Securities, LLC is a Delaware corporation with its principal place of business at
500 Colonial Center Parkway, Suite 100, Lake Mary Florida 32746.11 is a wholly owned subsidiary of
Defendant Robinhood Markets,lnc. Defendant RobinhoodSecurities, LLC is registered as a broker-dealer
with the SEC. Defendant RobinhoodFinancial LLC acts as a clearing broker and clears trades introduced by
its affiliateDefendant Robinhood Financial.

6.Defendant Robinhood Markets, [nc. is a Delaware corporation with its principal place of business at 85
Willow Road, Menlo Park, Califomia94AZl. Defendant Robinhood Markets, Inc. is the corporate parent of
Defendants Robinhood Financial LLC and Robinhood Securities" LLC.

7. The above-named corporate defendants herein referred to collectively as ooRobinhood.'o             [itlti[utni],ii
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                                       JURrSlprcTroN Ar\D VENUE

8. This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C. $ 1332(dX2).The
aggregate claims of all members of the proposed class and subclass(es) are in excess of $5 million,
exclusive of interest and costs, and there are more than 100 putative class members. Many members of the
proposed class are citizens of a state different from Defendant.

9. Pursuant to 28 U.S.C. $ 1391, this Court is the proper venue for this action because a substantial part of
the eventso omissions, and acts giving rise to the claims herein occurred in this District wherc Robinhood,
distributed, marketedo advertised, and sold the trading services which are the subject of the present
complaint. Finally, yenue is appropriate in this District pursuant to 28 USC $ 1391(bX2) because a
substantial part of the acts and omissions that gave rise to this Complaint occurred or emanated from this
District.

10. This Court has personal jurisdiction over Robinhood because it is authorized to do business and does
conduct business in Minnesota, and because it has specifically marketed, advertised, and made substantial
sales in Minnesota, and has sufficient minimum contacts with this state and/or sufficiently avails itself of
the markets of this state through its promotiono sales, and marketing within this state to render the exercise
ofjurisdiction by this Court permissible.

                                        EACTUALALLEGATIONS

11. Robinhood is an online brokerage  firm. Its customers place securities trades through the firm's website,
by using a web-based application (or o'appo'). Robinhood permits customers to purchase and sell securities,
including futures contracts.

12. Robinhood has experienced significant growth as a relatively new online brokerage firm. In 2}lg,
Robinhood raised $323 million in funding at a $7.6 billion valuation. The firm markets itself primarily to
younger investors and claims over 10 million users of its trading app.

13. On or about March 23,2016, Robinhood's official Twitter account stated: "Let the people trade." They
have since disregarded their mantra and have blocked access for millions of its customers to trade particular
securities.

14. On or around January 11,2021, stocks in GameStop      Corp.("GME") began to rise.

15.   At that time, Robinhood allowed retail investors to trade GME on the open market.

16. On or about January 27,2A21 Robinhood, in order to slow the growth of GME and deprived their
customers of the ability to use their service, abruptly, purposefully, willfully, and knowingly pulled GME
from their app. Meaning, retail investors could no longer buy or even search for GME on Robinhood's app.

17. Upon information and belief, Robinhoodos actions were done purposefully and knowingly to manipulate
the market for the benefit of people and financial intuitions who were not Robinhood's customers.

18. Since pulling the stock from their app, GME prices have gone up, depriving investors ofpotential gains.

19.Additionally, in the event GME goes dowrl Robinhood has deprived investors of "shorting" GME in the
hopes the price drops.

20.In sum, Robinhood has completely blocked retailer investors from purchasing GME for no legitimate
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reason, thereby depriving retailer investors from the benefits of Robinhood's services.

?1. The Financial Industry Regulatory Authorify (*FINRA"), which govems brokers like Robinhood,
                                o'Best
espouses rule 5310 regarding           Execution and Interpositioning." Rule 5310.01 requires that Robinhood
"Nnust make every effort to execute a marketable customer order that it receives promptly andfully." By
failing to respond at all to customers'placing timely trades-and outright blocking customers from trading
a security-Robinhood has breached these, among other, obligations and caused its customers substantial
losses due solely to its own negligence and failure to maintain adequate infrastructure.

22. Robinhood continues to randomly pull other securities from its app for no legitimate reason.

23. Upon information and belief, Robinhood is pulling securities like GME from its platform in order to
slow growth and help benefit individuals and institutions who are not Robinhood customers but are
Robinhood large institutional investors or potential investors.

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24. On the morning on January 28,2021, Plaintiffs used their Robinhood app, searched for GME on
Robinhood'. uppo and found it was unavailable. The stock did not even appear, although GME is a publicly
traded company available on all other platforms.

25. Thus, Plaintiffs, like so many others, lost out on all eaming opportunities. Please see attached copy.

                                    CLASS ACTTON ALLEGATIONS

26. Plaintiffs brings claims pursuant to Federal Rule of Civil Procedure 23 onbehalf of the following Class,
as defined below:


All Robinhood customers within the United       States.

27. Additionally, or in the alternative, Plaintiffs brings claims pursuant to Federal Rule of Civil Procedure
23 on behalf of the following Subclass, as defined below:

A.ll Robinhood customerswithin the United States who were not able to execute trads on GME
after Robinhood knowingly, willfully, and purposefully removed it completely from their platform.

28. Excluded from the Class are the Robinhood entities and their current employees, counsel for either
party, as well as the Court and its personnel presiding over this action.

29. This action has been brought and may properly be maintained as a class action against Robinhood
pursuant to the provisions of Federal Rule of Civil Procedure 23.

30. Numerosity: The precise number of members of the proposed Class is unknown to Plaintiffs at this
time, buto based on information and belief, Class members are so numerous that their individual joinder
herein is impracticable. Based on information and belief and publicly available reports, Class members
number in the hundreds of thousands and up to ten million. Subclass members are likely in the thousands.
All Class and Subclass members may be notified of the pendency ofthis action by reference to Robinhood's
records, or by other alternative means.

31. Commonality: Numerous questions of law or faot are common to the claims of Plaintiffs and members
of the proposed Class. These common questions of law and fact exist as to all Class mernbers and
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predominate over questions affecting only individual Class members. These coilrmon legal and factual
questions include, but are not limited to the following:

a. Whether Robinhood knowingly failed to provide the financial services that were needed to handle
reasonable consumer demand, including trading securities that are available on every other competitive
trading platform;

b. Whether Robinhood failed to provide the duty of care to their customers when they purposefully removed
GME;

c. Whether Robinhood removed GME purposefully to harm their customers'positions in GME and benefit
their own potential financial gains;

d. Whether Robinhood violated FINRA Rule 5310, among other FINRA rules, state rules, and federal
regulations;

e. Whether Robinhood violated consumer protection laws in      failing to disclose that its services would not
include the ability to trade on GME, and other securities, for substantial periods of time;

f. Whether Robinhood was in breach of its legal, regulatory and licensing requirements by failing to
provide adequate aocess to financial services;

g. Whether Robinhood was in breach of its contracts and/or the implied covenant of good faith and fair
dealing in connection with its failure to provide financial services;

h. Whether Robinhood was negligent or grossly negligent by failing to provide financial services in a time[y
manner due to its own possible nefarious desires;

i. Whether Robinhood breached its fiduciary duties to customers by failing to provide adequate access to
financial services;

j.   Whether Robinhood was unjustly enriched by its conduct;

k. Whether Plaintiffand the other Class members were injwed by Robinhood's conducq and if so, the
appropriate class-wide measure of damages, restitution, and other appropriate reliefl including injunctive
relief.

l. Whether Plaintiffs and the other Class members are entitled to injunctive and declaratory relief.

32. Ilpicality: The claims of the named Plaintiffs are typical of the claims of the proposed Class in that the
named Plaintiffwas a customer during the class period and was unable to trade GME and place time-
sensitive trades on GME and sustained damages as a result of Robinhoodos wrongful conduct.

33. Adequate Repnesentation: Plaintiffs will fairly and adequately represent the interests of the Class in
that he has no conflicts with any other Class members. Plaintiffs has retained competent counsel
experienced in prosecuting complex class actions, including those involving financial services, and they
will vigorously litigate this class action.

34. Predominanco and Superiority: There is no plain, speedy, or adequate remedy other than by
maintenance of this class action. A class action is superior to other available means, if any, for the fair and
efficient adjudication of this controversy. Prosecution of separate actions by individual Class members
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would create the risk of inconsistent or varying adjudications, establishing incompatible standards of
conduct for the Defendant. Additionally, given the relatively modest damages sustained by most individual
Class memberso few if any, proposed Class members could or would sustain the economic burden of
pursuing individual remedies for Robinhood's wrongful conduct. Treatment as a class action will achieve
substantial economies of time, effort, and expense, and provide comprehensive and uniform supervision by
a single court. This class action presents no material diffrculties in management.

35. Class action certification is warranted under Fed. R. Civ P. 23(bXlXA) because the prosecution of
separate actions by individual members of the proposed Class would create a risk of inconsistent or varying
adjudications with respect to individual Class members, which may produce incompatible standards of
conduct for Defendants. 34. Class action certification is warranted under Fed. R. Civ P.23(bX1XB) because
the prosecution of separate actions by individual members of the proposed Class would create a risk of
adjudications with respect to individual Class members which may, as a practical matter, be dispositive of
the interests of the other members not parties to the adjudications or substantially impair or impede their
ability to protect their interests.

36. The prerequisites to maintaining a class action for injunctive or equitable relief pursuant to Fed. R. Civ.
P.23(b)(2) are met as Robinhood has acted or refused to act on grounds generally applicable to the Class,
thereby making final injunctive, declaratory or equitable relief appropriate with respect to the Class as a
whole. 36. Class action certification is also warranted under Fed. R. Civ P. 23(bX3) because questions of
law or fact common to the Class members predominate over any questions affecting only individual
memberso and a Class action is superior to other available remedies for the fair and efficient adjudication of
this controversy. The amount of damages available to the individual Plaintiffis insufficient to make
litigation addressing Robinhood's conduct economically feasible for most in the absence of the class action
procedure. Individualized litigation also presents a potential for inconsistent or contradictory judgments,
and increases the delay and expense to all parties and the court system presented by the legal and factual
issues of the case. By contrast, the class action device presents far fewer management diffrculties and
provides the benefits of a single adjudication, economy of scale, and comprehensive supervision by a single
court.

37. Class action certification is also waranted under Fed. R. Civ P. 23(4Q) because questions of law or
fact common to the Class members may be cenified and decided by this Court on a cla$s wide basis.




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38. Plaintiffs hereby incorporate by reference the factual allegations set forth above.

39. In order to use the Robinhood trading platform, a potential customer must enter into the Customer
Agreement with Robinhood.

40. Plaintiffs and all class members did enter into a CustomerAgreement with Robinhood.

41. Robinhood breached its CustomerAgreement by, among otherthings, failingto disclose that its
platform was going to randomly pull a profitable stock from its platform; that Robinhood failed to provide
adequate explanation to their customers; that Robinhood knowingly put their customers at a disadvantage
compared to customers who used other trading apps; that Robinhood failed to provide access to its own
financial incentives to pull certain securities including GME; that Robinhood's prohibited plaintiffs from
performing in a timely manner (or at all) under the contract; that Robinhood failed to comply with all
applicable legal, regulatory and licensing requirements; and that Robinhood failed to exercise trades and
actions requested by customers.
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42. As such, Robinhood breached its CustomerAgreement with Plaintiffs and Class members.

43. Robinhood's failure to perform and its breaches of the CustomerAgrcement resulted in damages and
losses to Plaintiffs and Class members and continues to expose them to harm because Robinhood continues
to fail to perform under the Customer Agreement. These losses reflect damages to Plaintiffs and Class
members in an amount to be determined at trial or separate proceedings as necessary.

                                         CAUSE OFACTION II
                     Breach of the-Implied Covenant of Good Faith and Fair Dealing

44. Plaintiffs hereby incorporate by reference the factual allegations set forth above.

45. Plaintiffs and members of the Class and Subclass entered into the CustomerAgreement with Defendant
Robinhood to open a Robinhood trading acgount. They agreed to Robinhood's Terms and Conditions by
using Robinhood's website and tmding platform.

46. Plaintiffs and naembers of the Class and Subclass fulfilled their obligations under these contracts by
adhering to their terms and using Robinhood's trading services through its website and trading platform.

47. Robinhood was obligated to provide the trading services required under those contracts at all timeso
including but not limited to, trades for GME.

48. When initially signing up for Robinhood, Plaintiffs and all those similarly situated could and most
actually did trade GME.

49. Robinhood unfairly interfered with the rights of Plaintiffs and members of the Class and Subclass to
receive the benefits of the Customer Agreement by, among other things, (i) failing to provide services
necessary to carry out a trade; (ii) failing to provide certain trading services whatsoever; (iii) failing to
inform individuals in a timely member of the drastic changes in trading abilities; and (iv) prohibiting
plaintiffs from buying GME for Robinhood's own pecuniary interest and not disclosing those interest to
Plaintiffs and all Class and Subclass members.

50. Robinhood's conduct has caused Plaintiffs and members of the Class and Subclass harm, losses, and
damages. These losses reflect damages to Plaintiffs and members ofthe Class and Subclass in an amount to
be determined at trial or separate proceedings as necessary.

                                          CAU$E OFACTTON           IIr
                                                  Negligence_

51. Plaintiffs hereby incorporate by reference the factual allegations set forth above. Robinhood had a duty
to exercise reasonable care in conducting and facilitating transactions for its customers.

52. Robinhood had a duty to exercise reasonable care in providing trades on the free, open market for its
customers.

53. Robinhood unlawfully breached its duties by, among otherthhgs, (i) removed GME without notice
from its trading app; (ii) failed to provide financial services related to GME; (iii) failing to notifr customers
in a timely manner of the GME "blackout.oo
54. Robinhood's conduct as set forth in this Complaint was want of even scant care, and its acts and
omissions were and continue to be an extreme departure from the ordinary standard of conduct. Their
actions breach any duty of care to their customerso but are also inconsistent with the standard of care
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expected from similar firms in the open market.

55. Upon information and belief, no institutions similar to Robinhood has ever outright banned customers
from purchasing a specific share of a specific security.

56. Robinhood essentially abandoned its customers altogether by pulling GME, a standard of care so far
below what is required for a business engaging in time sensitive trading services that it amounts to a
complete abandonment of its duties.

57. Robinhood's grossly negligent and wrongful breaches of its duties owed to Plaintiffs and members of
the Class and Subclass proximately caused losses and damages that would not have occurred but for
Robinhoodos gross breach of its duty of due care. These losses reflect damages to Plaintiffs and members of
the Class and Subclass in an amount to be determined at trial or separate proceedings as necessary.

                                         CAUSE O4ACTION IV
                                         Breach of Fiduciar: Duty

58. Plaintiffs hereby incorporates by reference the factual allegations contained herein.

59. As a licensed provider of financial services, Robinhood at all times relevant herein was a fiduciary to
Plaintiffs and Class members and owed them the highest good faith and integrity in performing its financial
services on their behalf. Robinhood also acted as a fiduciary to each and every customer who agreed to the
CustomerAgreement.

60. Robinhood breached its fiduciary duties to Plaintiffand Class members by, among other things, failing
to disclose that its platform was going to remove GME purchases in a timely manner; actually removing
GME; removing GME for its own pecuniary benefits; that Robinhood failed to provide access to its
financial services in a timely manner; that Robinhood failed to comply with all applicable legal, regulatory,
and licensing requirements; and that Robinhood failed to exercise trades and actions requested by customers
in a complete and timely manner (also required by FINRARuIe 5310).

61. Robinhoodos conduct has caused Plaintiffs and Class memberso harm, losseso and damages and
continues to expose them to harm because Robinhood continues to breach its fiduciary duties. These losses
reflect damages to Plaintiffs and Class members in an amount to be determined at trial or separate
proceedings as necessary.

RELIEF REQUEST:

1. Enter an immediate   injunction requiring Robinhood to reinstaternent GME on their trading platform;

2. Enter an award for plaintiffs to be determined;

3. Enter an award for attorneys fees and costs;

4. Enter an award for punitive damages for the    willful,   wantono and reckless behavior of Defendants;

5.Any other relief this Court deems just and fit.

Date: February   9,2021       Respectfully,
                                                             /s/V.I. N.A. Petro Siruk"   All Rights   Reserved
